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10                         UNITED STATES DISTRICT COURT
11                      SOUTHERN DISTRICT OF CALIFORNIA
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       FOURTE INTERNATIONAL                             Case No. 18-cv-00297-BAS-BGS
13     LIMITED BVI, et al.,
14                                                      ORDER GRANTING EX PARTE
                                    Plaintiffs,
                                                        APPLICATION FOR ORDER
15           v.                                         AUTHORIZING SERVICE OF
16                                                      SUMMONS AND COMPLAINT
       PIN SHINE INDUSTRIAL CO.,                        BY CLERK OF COURT
17     LTD., et al.,
18                                                      [ECF No. 3]
                                  Defendants.
19

20         Presently before the Court is Plaintiffs Fourte International Limited BVI and
21   Fourte International SDN. BHD’s ex parte application for a court order. (ECF No.
22   3.) Specifically, Plaintiffs request an order authorizing the Clerk of the Court to serve
23   the Summons and Complaint on Defendants Pin Shine Industrial Co., Ltd. (“Pin
24   Shine”) and Bobbin & Tooling Electronics International Company (“Bobbin”) by
25   mail, with signed return receipt requested, pursuant to Federal Rule Civil Procedure
26   4(f)(2)(C)(ii). Having reviewed the moving papers, the Court GRANTS the ex parte
27   application. (ECF No. 3.)
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 1       Accordingly, per Plaintiffs’ application, the Court ORDERS the following:
 2       1.    Plaintiffs shall provide the Clerk of Court with pre-addressed,
 3             prepaid FedEx International Air Waybills addressed to Defendants
 4             Pin Shine and Bobbin, as follows:
 5
               Pin Shine Industrial Technology Co., LTD
 6             7F, No. 3, Wuquan 1st Rd.
               Xinzhuang Dist.
 7             242 New Taipei City
               Taiwan
 8
               Bobbin & Tooling Electronics Int. Co., LTD
 9             Panocean Secretarial Services Limited
               Room 1708 Kai Tak Commercial Building
10             317-321 Des Voeux Road C
               Hong Kong SAR
11

12       2.    Plaintiffs shall also provide the Clerk of Court with a copy of the
13             Summons, Complaint, and Civil Cover Sheet for the package
14             addressed to each Defendant.
15       3.    The Clerk of Court shall serve the Summons, Complaint, and Civil
16             Cover Sheet on Defendants Pin Shine and Bobbin by depositing
17             the Federal Express packages for delivery.
18       IT IS SO ORDERED.
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20   DATED: March 14, 2018
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